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 1   JAMERSON C. ALLEN (SBN 132866)
     ALDEN J. PARKER (SBN 196808)
 2   JACKSON LEWIS LLP
     801 K Street, Suite 2300
 3   Sacramento, California 95814
     Telephone: (916) 341-0404
 4   Facsimile: (916) 341-0141
 5   Attorneys for Defendant
 6   JOCKEY INTERNATIONAL, INC.
     (erroneously sued as JOCKEY INTERNATIONAL
 7   GLOBAL, INC.)
 8
                                    UNITED STATES DISTRICT COURT
 9
                                    EASTERN DISTRICT OF CALIFORNIA
10

11
     GARY PALMER,                                      Case No. 2:05-cv-1935 MCE GGH
12
                       Plaintiff,
13                                                     SUBSTITUTION OF ATTORNEY AND
            v.                                         ORDER
14
     CHELSEA FINANCING PARTNERSHIP, LP,
15   et al.

16                     Defendants.

17

18                 JOCKEY INTERNATIONAL, INC., substitutes the law office of Akin Gump

19   Strauss Hauer & Feld, LLP, 2029 Century Park East, Suite 2400, Los Angeles, California

20   90067-3012, as its attorney of record in place and stead of Jackson Lewis LLP, 801 K Street,

21   Suite 2300, Sacramento, California 95814.

22                 The undersigned consents to the above substitution.

23                                                     AKIN GUMP STRAUSS HAUER FELD & LLP

24
     DATED: January 20, 2006                     By: _/s/ Chelsea Dawn Munday_________________
25                                                       Chelsea Dawn Munday

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     Case 2:05-cv-01935-MCE-GGH Document 191 Filed 01/23/06 Page 2 of 2


 1               The undersigned accepts the above substitution.
 2
                                                     JACKSON LEWIS LLP
 3

 4   DATED: January 20, 2006                  By: _/s/ Alden J. Parker______________________
                                                      Alden J. Parker
 5

 6   IT IS SO ORDERED.

 7   DATED: January 23, 2006
 8                                        __________________________________
                                          MORRISON C. ENGLAND, JR
 9
                                          UNITED STATES DISTRICT JUDGE
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